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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

   VON DUPRIN LLC,                               )
             Plaintiff,                          )
                                                 )
   v.                                            )
                                                 )
   MORAN ELECTRIC SERVICE, INC.,                 )
   MAJOR HOLDINGS, LLC,                          )
   MAJOR TOOL AND MACHINE, INC.,                 )
   and ZIMMER PAPER PRODUCTS                     )
   INCORPORATED,                                 )
              Defendants.                        )


   MAJOR HOLDINGS, LLC,                          )
            Cross-Claimant,                      )
                                                 )
   v.                                            )         Case No. 1:16-cv-01942-TWP-DML
                                                 )
   MORAN ELECTRIC SERVICE, INC.,                 )
            Cross-Claim Defendant.               )


   MORAN ELECTRIC SERVICE, INC.,                 )
            Counterclaimant,                     )
                                                 )
   v.                                            )
                                                 )
   VON DUPRIN, LLC, and                          )
   MAJOR TOOL AND MACHINE, INC.,                 )
             Counterclaim Defendants.            )



                            DECLARATION OF ADAM H. LOVE, Ph.D.

           I, Adam H. Love, Ph.D., declare as follows:

        1. I am and adult over the age of 21 years, and I am competent to testify to the matters set

           forth herein. I have personal knowledge of the facts stated herein.




                                                       1

                                                                                               Exhibit R
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      2. I am Vice President and Principal Scientist for Roux Associates, Inc., 555 12th Street,

         Suite 250, Oakland, California 94607. I authored the Expert Report of Adam H. Love,

         Ph.D., dated May 21, 2018 (hereinafter “Love Expert Report”), which I understand was

         submitted to the Court in this action. [Dkt. 135 – 1 DE 1]

      3. As stated in the Love Expert Report, I hold a Bachelor of Arts degree in Geosciences

         from Franklin & Marshall College (1996), a Master of Science degree from University of

         California at Berkeley in Material Science and Mineral Engineering (1998), and a Doctor

         of Philosophy degree from University of California at Berkeley in Civil and

         Environmental Engineering (2002). I reference the “Qualifications” section of the Love

         Expert Report (pp 1-2) for my extensive experience involving environmental science.

      4. I was asked to provide opinions with regard to the source and release characteristics of

         the chlorinated volatile organic compounds (CVOC) observed in the vicinity of former

         Moran properties in Indianapolis, Indiana. I was also asked to provide opinions related to

         the divisibility and relative contributions of the CVOC contamination from the various

         responsible parties at the Site (as defined and referenced in my report). [Love Expert

         Report, p. 1]

      5. The methodology I used for establishing divisibility of the CVOC contribution from each

         property and calculating the relative mass contributions from each site to the groundwater

         contamination is based solely on my analysis of the site investigation data collected from

         environmental samples at the various sites. [Love Expert Report, p. 11-12] Site

         investigation data is specifically collected in order to assess the extent and magnitude of

         contamination on a property. Mass contribution to a discharge, release or disposal of a

         hazardous waste is one of the “Gore factors” and is a reasonable basis for apportionment



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         that I have used in numerous other matters. No fate and transport models or other

         “computer models” were used in my analysis, as the Von Duprin Reply Brief misstates.

         Therefore, the Von Duprin Reply Brief’s use of an analogy to the NCR methodology for

         apportionment is incorrect. [Von Duprin Reply Brief, p. 15]

             a. The methodology I used analyzed the unique chemistry of CVOC contamination

                 in groundwater below and downgradient of the Von Duprin property to determine

                 the relative CVOC contribution to groundwater from the Von Duprin property

                 compared to all properties upgradient of the Von Duprin property. I then used the

                 magnitude of CVOC soil contamination at each of the upgradient properties to

                 determine the relative CVOC contribution to groundwater among each of the

                 upgradient properties. [Love Expert Report, p. 11-12]

             b. Von Duprin’s objections to the methodology and soil data I used for establishing

                 divisibility among the sites upgradient of the Von Duprin property have no impact

                 on the relative CVOC contributions to groundwater determined to result from the

                 Von Duprin site. [Love Expert Report, p. 18-19] Only groundwater CVOC

                 characteristics were used to established divisibility and the relative CVOC

                 contribution to groundwater from the Von Duprin property compared to all

                 properties upgradient of the Von Duprin property.

      6. While the specifics of releases from each site (volume, concentration, duration) are

         unknown, the location and concentrations of CVOC soil contamination at each site was

         established using data collected as part of each property’s site investigation and this data

         is reasonably expected to be indicative of the overall magnitude of the historical releases

         from each site. The soil data used for establishing divisibility of CVOC contribution to



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         groundwater among the sites upgradient of the Von Duprin property and calculating the

         relative contributions from each site to the groundwater contamination was complete and

         appropriate for these intended objectives. While the Von Duprin Reply Brief misstates

         that data from the actual excavated soil are needed to assess the relative CVOC impact at

         each site [p. 16, 19], characterization of the excavated soil and preservation of excavated

         soil is unnecessary to assess the relative CVOC impact at each site, as the site

         investigation soil samples used in my analysis were what was used to establish the extent

         and magnitude of CVOC contamination at each site.

            a. The CVOC data I used for establishing divisibility of CVOC contribution to

                groundwater among the sites upgradient of the Von Duprin property and

                calculating the relative contributions from each site to the groundwater

                contamination were from pre-excavation site investigation soil samples and soil

                samples from the assessment of residual levels of contamination in the areas

                surrounding soil excavations, both of which were used to delineate the extent and

                magnitude of site contamination. The soil data was collected from the native soil

                and do not represent new clean soil used to fill the holes created from

                excavations. Based on my review, only 1 soil samples (SME-2) among

                approximately 470 unique soil samples (0.2% of all soil data) utilized in the soil

                database was collected from a location that may have marginally overlapped a

                previously excavated area. The Von Duprin Reply Brief misrepresent my

                deposition testimony by stating the there was “no knowledge of the subsurface

                conditions that existed prior to the excavation because no samples were taken”.

                [Von Duprin Reply Brief, p. 16] In fact, establishing the extent of the



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               contaminated soil excavations required site investigation data be collected pre-

               excavation. My deposition answers were misrepresented in the Von Duprin

               Reply Brief where I was referring to not having CVOC data for waste

               characterization of the soil removed during excavation, not that there was never

               any sampling at any of the sites prior to excavation. Again, numerous pre-

               excavation soil samples were required to establish the extent of the necessary

               excavations, and when combined with and assessment of residual levels of

               contamination in the areas surrounding soil excavation, were the source of the

               data used in the methodology for divisibility and relative contribution described

               above.

            b. While the additional samples from native soil that were collected post-excavation

               in order to assess residual levels of contamination in the areas surrounding soil

               excavation were included in my analysis of the overall magnitude of site soil

               contamination, the Von Duprin Reply Brief misrepresents the inclusion of these

               native post-excavation samples as skewing the relative contribution results lower

               compared to the use of only pre-excavation samples, when in fact, the post-

               excavation samples were simply incorporated into a comprehensive assessment of

               the overall extent of magnitude of soil contamination above the water table. My

               analysis integrated data from post-excavation samples with data from pre-

               excavation samples to develop the most accurate determination of the extent

               CVOC soil contamination and thus the relative site contributions represented the

               best approach for assessing the magnitude of site CVOC soil contamination that

               existed above the groundwater on each property. [Love Expert Report, p. 27,



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               Figure 3-5] Thus, the inclusion of samples in my analysis from a post-excavation

               timeframe at upgradient properties does not result in an exaggeration of “the

               Threaded Rod site while underestimating the contribution of contaminants from

               upgradient properties” as the Von Duprin Reply Brief misstates [Von Duprin

               Reply Brief, p. 16-17]

            c. Since the objective of the analysis was to assess the relative contributions from

               each site, soil samples below the groundwater table were excluded from the soil

               data used for establishing divisibility of CVOC contribution to groundwater

               among the sites upgradient of the Von Duprin property and calculating the

               relative contributions from each site to the groundwater contamination [Love

               Expert Report, p. 11,20] because groundwater can mix together the contamination

               in soil below the water table from different locations. Thus, soil samples collected

               below the water table can represent the CVOC contributions from multiple

               upgradient properties. While the Von Duprin Reply Brief attributes the exclusion

               of soil data collected below the water table to an intent to skew the results in favor

               of upgradient sites over the Von Duprin site, [Von Duprin Reply Brief, p. 18] as

               described above, the exclusion of soil data below the water table has no impact on

               the calculated contribution of the Von Duprin property on groundwater CVOC

               contamination. In reality, the exclusion of soil data below the water table was

               required in order to maintain the geographic divisibility of the soil data used to

               represent relative CVOC contribution from the site above the location where soil

               was collected.




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         PURSUANT TO 28 U.S.C. § 1746, I AFFIRM UNDER THE PENALTIES FOR

         PERJURY THAT THE ABOVE FACTS ARE TRUE AND CORRECT THIS 28TH DAY

         OF SEPTEMBER, 2018.




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                                              Adam H. Love, Ph.D.




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